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In the Qnited States District Court
for the District of Mew Mexico

MICHELE MARTINEZ,
Plaintiff,
vs 11-CV-785 ACT/WDS

GINO R. ROMERO, in his individual and official capacities, and

NORTH CENTRAL SOLID WASTE AUTHORITY, in its
official capacity, ,

Defendants.

 

JURY DEMAND

 

 

 

FIRST AMENDED COMPLAINT FOR
VIOLATION OF CIVIL RIGHTS, BREACH OF CONTRACT,
WRIT OF MANDAMUS, AND VIOLATIONS OF THE NEW MEXICO
INSPECTION OF PUBLIC RECORDS ACT
Preliminary Statement: This is an action brought under 42 U.S.C. § 1983 and 1988
for violation of plaintiff's Fourteenth Amendment right to procedural due process of law,
breach of contract, and writ of mandamus for violations of the New Mexico Inspection of

Public Records Act, NMSA 1978, § 14-2-1 ef. seq.

Plaintiff states:

THE PARTIES:

1. Plaintiff (Martinez) is over the 18 and resides in Santa Fe County, New
Mexico.

2. Defendant Gino R. Romero (Romero) is believed to be over the age of 18,

believed to be a resident of Rio Arriba County, holds the position of manager for North
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Central Solid Waste Authority (NCSWA), and is at all material times to this complaint
acting under colour of state law, local ordinance, custom, procedure, and/or policy to deny
Martinez her constitutional rights as more particularly set out herein. He is being sued in
his official and individual capacities.

3. Defendant North Central Solid Waste Authority (NCSWA) is a legal entity
established under state law though the Joint Powers Agreement, NMSA 1978, § 11-1-1 ef
seq, and the Solid Waste Act, NMSA § 74-9-1 et seg and is a “person” within the meaning
of 42 U.S.C. § 1983. Pursuant to the Joint Powers Agreement, NCSWA may hire
personnel, enter into contracts, issue personnel rules and regulations, and sue and can be
sued. Employees of NCSWA are covered by the New Mexico Public Employment
Retirement Act, NMSA 1978, §10-11-1 et seg. NCSWA holds itself out to the public as a
“special purpose unit of local government”.

JURISDICTION:

4. Jurisdiction is conferred upon this Court by 28 U.S.C. §§ 1331 and 1343 and
supplemental jurisdiction over the state claims under 28 U.S.C. § 1367.

VENUE:

5. All acts or omissions as set out more fully herein took place in Rio Arriba
County, New Mexico. Venue is conferred by 28 U.S.C. §1391.

FACTUAL ALLEGATIONS:

6. Martinez began her employment with NCSWA on or about 7 October 2004
and became a “classified”, full time employee, after expiration of her probationary period
and therefore could only be terminated “for cause” in accordance with her contract of
employment as reflected in NCSWA, PERSONNEL POLICIES AND PROCEDURES §§ 3.2 and

8.11 (2004 amend 2008)(PERSONNEL POLICIES), a copy of pertinent sections are attached

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as Exhibit 1. Martinez satisfactorily completed her initial probationary period, became a
Classified employee, and had a property right to her job at all material times to this
complaint. The PERSONNEL POLICIES constitutes a valid written contract.

7. Throughout her career at NCSWA, she received promotions, pay increases
and was not subject to any suspensions, written reprimands, or any other disciplinary
action until 19 July 2011, a copy of termination letter is attached as Exhibit 2.

8. On or about 18 November 2009, at the request of the Board, NCSWA asked
Martinez to become an “interim” manager. When she became “interim” manager she
maintained her classified, non probationary status and at no time relinquished that status.
The NCSWA board of directors agreed when Martinez became “interim manager” that
once a manager was selected, she would return to her classified, non probationary
position as administrator/assistant manager.

9. In May 2011, the NCSWA board of directors selected Romero as manager
for NCSWA. Romero was not qualified for the position, and he was nonetheless hired.
Upon information and belief, one of his first tasks was to fire or terminate Martinez asa
requirement for the job.

10. Once Romero became manager, Martinez resumed her former classified,
non probationary position at her prior salary.

11. Administrator / Assistant manager is not one of the enumerated positions
listed as exempt in the PERSONNEL POLICIES at § 3.2(A), Exhibit 1.

12. |The NCSWA board was upset with Martinez because she revealed and
reported certain fiscal improprieties and misfeasance done by the prior manager. This
revelation and exposure was an embarrassment to the NCSWA board.

13. On 20 June 2011, Martinez requested that her 40 hours of sick leave be
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transferred to annual leave in accordance with PERSONNEL POLICES at § 10.14. Exhibits 1
and 4.

14. | Despite numerous efforts to confirm whether this request was approved, it
was not until August 2011, well after Martinez was terminated, that Romero confirmed the
request was granted. Romero further confirmed that Martinez had 801.95 hours of annual
leave.

15. On 29 June 2011, Martinez was placed on administrative leave with pay.
Exhibit 3, attached.

16. On 19 July 2011, Martinez was terminated without cause in violation of
PERSONAL POLICIES at §§ 3.2, 7.7, and 8.11. Exhibits 1 and 2.

17. On 19 July 2011, Martinez, through her counsel, requested to obtain a
complete copy of her personnel file per §4.13(B) of the PERSONNEL POLICIES. Exhibits 1
and 4. NCSWA, acting through Romero, has steadfastly refused to provide access to her
personnel file notwithstanding the explicit PERSONNEL POLICIES. It was not until 26 August
2011, that Romero finally produced what purports to be a copy of her personnel file,
although the file appears to be missing several documents, such as and not limited to: the
letter placing Martinez on administrative leave of 29 June 2011, the letter terminating
Martinez dated 19 July 2011, copies of her up to date driver's license, a change in W4
exemptions in 2010 and 2011, current solid waste and recycling certificates showing that
Martinez is certified through 3 January 2013, Martinez’ memoranda regarding her duties,
her COBRA type notification and the acknowledgment form of receiving the personnel
polices of 2008.

18. On 27 July 2011, Martinez invoked her right to appeal the termination

decision as set forth in Personal Polices at §§ 7.8 and 5.5(C). Exhibits 1,2 and 5

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attached.

19. As of the filing date of this complaint, NCSWA acting through Romero have
refused to provide Martinez any pre or post termination hearing.

20. As of the date of termination, Martinez accrued 801.95 hours of annual leave
of a value of $27,266.30.

21. In addition, Martinez had accumulated 245.94 hours of sick leave after
deducting the transfer of the 40 hours to annual leave under § 10.14 of the PERSONNEL
POLICES.

22. Under § 10.20 of the PERSONNEL POLICIES, NCSWA is required to pay
terminated employees the balance of an employee’s sick leave up to 80 hours of sick
leave who are in good standing. Therefore, the amount to be paid to Martinez for her
unused sick leave is $2,720.

23. | NCSWA has never told or communicated in any manner that Martinez was
not in good standing when she was terminated from her employment. In fact, no reason
was ever provided for Martinez’ termination.

24. Under §11.1 of the Personnel Policies, NCSWA is mandated to pay “[a]n
additional check ... by the next regular payroll period following termination to include any
accrued vacation, compensatory and qualifying sick leave.”

25. Despite being requested to pay Martinez’ annual leave, Defendants refuse
without cause or justification to pay it to her.

26. NCSWA did not pay the accumulated sick or annual leave in accordance
with § 11.1 of the PERSONNEL POLICIES to Martinez.

27. Given Ms Martinez’ medical condition, she requires routine medication. The

unlawful termination has caused her to pay for additional health insurance and incur
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additional expense.

28. As adirect result of the acts and omissions as set out herein, Martinez
suffered the following damages:

a. Loss of accrued annual leave of $27,266.30:

b. Loss of accrued sick leave of $2,720.00;

Cc. Loss of wages (past and future);

d. Incurring additional health care expenses;

e. Loss of health care benefits and retirement; and,

f. Mental anguish and suffering including humiliation, headaches, anxiety,

sleepless nights, upset stomach, nausea, depression, frequent crying
episodes, and a feeling of self worthlessness.

29. The actions of Romero were malicious, vindictive, deliberately undertaken,
wilful, done in spite, and in utter disregard for the rights of Martinez thereby entitling
Martinez to an award of punitive damages as against Romero.

CLAIMS FOR RELIEF:
MANDAMUS-INSPECTION OF PUBLIC RECORDS‘

30. Martinez incorporates by reference paragraphs 1 through 29.

31. On 12 July 2011, Martinez, through her counsel, made a public request to
the custodian of public records at NCSWA, attached as Exhibit 6.

32. On 25 July 2011, Martinez, through her counsel, made a second public

request to the custodian of public records at NCSWA, attached as Exhibit 7.

 

"This claim is was granted. Court's Memorandum Opinion and Order filed 26
January 2012 [Doc. 59]. It is being asserted to preserve the decision in this amended
complaint.
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33. Both public records requests were not acknowledged or responded to in any
manner within 3 days in accordance with NMSA 1978, § 14-2-8.

34. The records were not produced within 15 days of the request in accordance
with NMSA 1978, § 14-2-8.

35. The City, County, Romero acting as through NCSWA have a no discretion
to deny the inspection and copying of those records sought in the public records requests
of 12 July 2011 (Exhibit 6) and of 25 July 2011 (Exhibit 7).

36. To date these records have not been received with the exception of those
documents recently produced on 26 August 2011.

37. | NCSWA and Romero with the approval of or with acquiescence of the
County and the City failed to comply with NMSA 1978, §§ 14-2-8.

38. There is no adequate legal remedy at law.

BREACH OF CONTACT

39. Martinez incorporates by reference paragraphs 1 through 38.

40. Romero and NCSWA breach contract set forth in the PERSONNEL POLICES as
follows:

a. Failing to pay Martinez her annual leave of approximately $27 266.30:

b. Failing to pay Martinez her sick leave of approximately $2,720.00;

C. Failing to allow to Martinez to timely and promptly the right to inspect and

copy her entire personnel file:

d. Firing Martinez without cause; and.

e. Failing to provide Martinez a hearing.

41. The acts and omissions by City, County, Romero and NCSWA caused

Martinez damages as set forth in paragraph 28.
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BREACH OF CONTRACT-COVENANT OF GOOD FAITH AND FAIR DEALING
42. Martinez incorporates paragraphs 1 through 38.
43. Romero acting as through NCSWA breached the covenant of good faith and

fair dealing with Martinez by:

a. Not providing progressive discipline, if applicable;

b. Not providing any reason for her termination:

Cc. Not providing her access to her personnel file in a reasonably prompt
manner; and,

d. Not paying her annual or sick leave as required under the policies and not

providing her with any reasons why they are entitled to withhold those
payments.
44. The acts and omissions by, Romero and NCSWA caused Martinez damages
as set forth in paragraph 28.
VIOLATION OF DUE PROCESS OF LAW
45. Martinez incorporates paragraphs 1 through 44.
46. Martinez had a property right to her job; Martinez could only be terminated
for cause.
47. Martinez also had a property right to her sick and annual leave and failed to
articulate any reasons or notice whatsoever as to why NCSWA was refusing to pay
Martinez her sick and annual leave as granted by the PERSONNEL POLICES.

48. | NCSWA and Romero violated Martinez’s due process rights by

a. failing to provide her a pre termination hearing;
b. failing to provide her a post termination hearing;
Cc. failing to provide notice as to any reasons why NCSWA was withholding

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Martinez’ accumulated sick and annual leave:

d. failing to pay Martinez’ accumulated sick and annual leave: and

e. by engaging in a pre judgement attachment of Martinez’ accumulated sick

and annual leave without due process of law.

49. The termination and failure to pay and holding hostage Martinez’
accumulated sick and annual leave without cause or process violates due process clause
of the Fourteenth Amendment to the Constitution of the United States.

50. Martinez suffered damages as outline in paragraph 28 and should also
receive additional damages in the loss of use of such funds held hostage by NCSWA and
Romero.

51. Martinez is further entitled to an award of punitive damages against Romero
in an amount that is sufficient to deter and punish him for such reprehensible and
outrageous conduct.

92. At the time of these constitutional transgressions, the law was clearly
established under Bishop v. Wood, 426 U.S. 341 (1976), Board of Regents of State
Colleges v. Roth, 408 U.S. 564 (1972), and Cleveland Bd of Educ. v. Loudermill, 470 U.S.
532 (1985) that Martinez was entitled to a hearing.

53. At the time of these constitutional transgressions, the law was clearly
established that Martinez was entitled to reasonable notice and a meaningful opportunity
to be heard on the withholding of her sick and annual leave and for defendants to withhold
payment of these sums is tantamount to a prejudgement attachment and a taking without
due process of law. Sniadach v. Family Finance Corp of Bay View, 395 U.S. 337 (1969):
Fuentes v. Shevin, 407 U.S. 67 (1972); Goldberg v Kelly, 397 U.S. 254 (1970):

Connecticut v Doehr, 501 U.S. 1 (1991).
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WHEREFORE, Martinez prays for judgement as follows:

A.

On the Claim for Mandamus and the Inspection of Public Records Act

against NCSWA:?

1. Production of the records;

2. Damages of $100 a day since the date the records were sought until
produced under NMSA 1978, § 14-2-12:

3. Attorney fees under NMSA 1978, § 14-2-12:

4. Costs:
5. Pre and post judgement interest; and,
6. Any other relief the Court deems just.

On the Breach of Contract Claim and Breach of the Implied Covenant of

Good Faith and Fair Dealing as against NCSWA:

1. Compensatory damages;
2. Pre and Post judgement interest;
3. Any other relief the Court deems just.

On the Violation of Due Process Rights vouchsafed under the Fourteenth

Amendment to the United States Constitution as against NCSWA and

Romero:
1. Compensatory damages;
2. Punitive damages as against Romero only;

3. Attorney fees under 42 U.S.C. § 1988:

4. Costs:

 

2See footnote one.

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5. Pre and post judgement interest; and

6. Such further relief the Court deems just.

Respectfully submitted

  

 

MICHAEL ZCHW AZ
Counsel fff Plaintiff ¥
NM Bar Alo. 2412 a
P O Bo656 }
Santa Fe, WAL8752 1656
505.988.2053 @ 505.983.8656 (FAX)

 
  
 

}sderal Bar No. 9485

JURY DEMAND
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Martinez requests that

this case be tried before a jury.

 
 

 

  

MICHAEL S@HWAR
/ ) CERTIFICATE OF SERVICE

| dertify that a cypy of the First Amended Complaint was sent through the court’s
electronical filed Caa/ECF system on 13 February 2012 to:

 

Quentin Smith Virginia Anderman
SHEEHAN & SHEEHAN, P.A. MILLER STRATVERT
Counsel for Gino Romero and NCSWA Counsel for City and County
P O Box 271 P O Box 25867
Albuquerque, NM 87103-0271 Albuquerque, NM 87125
qs@sheehansheehan.com vanderman@mstlaw.com

  
 

 

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In the Gnited States District Court
for the District of Pew Mexico

MICHELE MARTINEZ,
Plaintiff,
vs No. 11-CV-785 ACT/WDS

GINO R. ROMERO, in his individual and official capacities,

NORTH CENTRAL SOLID WASTE AUTHORITY, in its
official capacity,

Defendants.
VERIFICATION

|, MICHELE MARTINEZ, state under penalty of perjury of law that | have read the
foregoing complaint and the facts as known to me are true to the best of my personal
knowledge and information. As to those facts alleged upon belief, | believe them to be
true.

Dated: Yd. Hore

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MICHELE MARTINEZ

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Recruitment

Employment Applications

Minimum Qualifications

References

Disqualification of Applicants

Practical Tests

Evaluation & Referral of Candidates

Selection of Candidates

Provisional Appointment

Employmeng Date

Employment of Relatives of Authority Employees

Probationary Periog

3.17] Benefits

3.17.2 Probationary Period of Evaluation Process

3.17.3 Probationary Employee — Grievance or Appeals

3.17.4 Probationary Period for Promoted Employees

3.17.5 Benefits Request of Lateral or Promotional Transfer While in
Probationary Status

Performance Evaiuation

Pay Plan Classification

Pay Plan

Merit Increase Distribution Method

It is the policy of the North Centra] Solid Waste Authority that equal Opportunity shal}
80vern in al] Personnel policies and practices and shal} include but not be limited to:

3.2

A. Recruitment, hiring, and Promotion of any qualified Person on the basis of
merit without Tegard to race, religion, creed, color, ancestry or national] orginal,

and without Tegard to age, S€x, Or physical or mental disability &xcept where such
18 a bonafide OCCupational barrier,

B. Employment and promotion in accord with the Principles of equal
employment Opportunity and affirmative action based Only upon valid
requirements

Cc. Personnel actions shal] be Carried out without regard to Face, religion,

Classification of Employees

Employees Shall be Classified for Purpose of tenure of employment with the Authority
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according to the following definitions:

A. Directors and Officers of the Authority serve Pursuant to appointment by
the North Central Solid Waste Authority and Shall include:

(1) Director

(2) Authority Attorney (appointed)
(3) Division Supervisors

(4) Manager

B. Classified employees are employees who have completed the Probationary
Period whose employment May only be terminated by the North Central Solid
Waste Authority for Cause, and shali Include:

(1) Regular Full Time Employees
(2) Regular Part Time Employees

Cc Unclassified employees are employees who are employed at the convenience
of the North Central Solid Waste Authority and may be terminated without cause,
and shall include: (1) Probationary employees (2) Temporary OF s€asona]
Workers (3) Emergency employees

3.3 Employees Status - Benefits

An employee js eligible to accrue employment benefits depending “pon employee status
as follows:

B. Probationary Employee: an employee placed Ina Permanent position
who has not completed the six (6) month Probationary Period with the Option to
extend the Probationary Period for an additional term of the same length.

C. Regular Part Time Employee: a regular part time employee works less
than the usual forty (40) hour work Period, but on a recurring basis The
employee js paid an hourly wage and is entitled tO certain pro-rata Authority
benefits. 4 regular part time employee can work no more than thirty-two (32)
hours per week,

D. Temporary or Seasonal] Employee: an employee appointed to a
temporary position for a limited period of time such as a day, week, month, a
Season, or a period of time not to exceed six (6) months, Temporary employees

are not eligible for Salary increases Or employee benefits, nor may they appeal

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C. Unsafe conditions and potential hazards will be reported and corrected
promptly;

D. All injuries and accidents while working on Authority Property or involving

Authority vehicles or equipment will be reported promptly and as accurately
as possible:

E. All precaution wil] be exercised in keeping the work area as hazard-free as
practicable for employees and the public;

F. Fire, explosions, or similar emergencies will] be reported immediately:

G. Weapons, firearms, and inflammable or explosive substances or equipment

will not be brought to the work area except as authorized for the type of work
pertormed.

Negligence or failure to regard safety rules and regulations as weil a willful unsafe
conduct are grounds for disciplinary action or possible dismissal.

4.43 Employee Permanent Record:

A. Permanent Personnel Record

Each Authority employee may examine his Own permanent personnel record at
any reasonable time during established office hours in the Manager’s Office.
Employees should notify the Administrator/Designee of any change of address
and phone number, and to update beneficiary, and dependent information changes
as they occur. Any additional skills and training which the employee has acquired
since employment Should be brought to the attention of the Manager.

Example of documents contained in the Permanent Record file for examinations are:

(1) Employee’s application for employment;

(2) Physical examination report, if applicable;

(3) Letters of reference or evaluation:

(4) PERA documents;

(5) Personnel Action Forms;

(6) Request for leave and records relating thereto;
(7) Performance evaluations:

(8) Commendations, certificates and awards:

(9) Records relating to disciplinary action;

(10) Accident reports;

(11) Entry tests or results of other selection processes:

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B. Access to Personne] Files:

Complete &Ccess to personnel records is restricted to the following Persons

(1) The Employee:
(2) The Manager/Designee: and
(3) The Board Of Directors

Department Supervisors May request information from the employee’s Personnej file,

under SUPET Vision Of the Manager/Des; 8nee. Certain information Contained in an

may not be Temoved from the Manage;’s Office, as these records are Plivileged
documents. (See “Inspection of Public Records Act” Sections 14-2-1 to 14-2-3. NMSA 1978 Comp.).

€rsonnel Record. (See “Inspection of Public Records Act”, Sections 14-2-1 to
14-2-3, NMSA (1978 Comp.).

4.14 Drug and Alcohol Policy

A. Policy and Purpose

use of a reasonable and legally Permissible employee drug testing Program. In
accordance with these genera] Principles, the NCSWA wil] Maintain the following
Policy concerning the USE, Possession, or Sale of alcoho} or drugs by its

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Every employee has 4 Tight to discuss problems and try to work out disagreements.
However, little can be accomplished by bypassing a Supervisor.

The employee js strongly urged to discuss problems with the SUPErvisor or department
head, if no Satisfaction js obtained, an employee may initiate the formal grievance
procedure; beginning with the written report to the Manager, then followed, if necessary,
bya hearing before the Grievance Board, as outhned below.

5.2 Grievance Defined:
Dez meeehnce Defined:

A grievance is 4 complaint of an employee concerning working Conditions, actions taken
by management resulting in a Joss of pay, seniority, logs Of job, or written reprimand.
The validity of the stievance shail be determined by the Grievance Board.

5.3 Representation:

An employee May elect any person of his choosing to serve with him in the presentation
ofa grievance, If another Authority employee is chosen, Satisfactory arrangements must
be made with the Departinent Supervisor if that individual wil] be away from his duty
station during norma! working hours. In the event an aggrieved employee chooses tg
employ legal counsel, it is necessary to notify the Manager so alrangements can be made
to have the Authority attomey present at grievance hearings.

Confidentiatiiy:

mui eentianty:

All information or documentation involved with the gnievance process shall be
considered and treated by al] involved ag confidential to the extent applicable by State
Law 80 as not to unduly influence members of the Grievance Board. All meetings of the

Grievance Board shall be held with utmost care to insure the rights and Privacies of those
involved,

3:5 Grievance Procedure/Grievance Board:

The NCSWA Board of Directors shal] serve as the NCSWA Grievance Board. The
function of the Grievance Board shall be to conduct hearings for employee grievances If
the employee feels he/she cannot resolve the problem through the supervisory line,
described in this section, the employee has a right to request a formal hearing of the
Grievance Board Should an employee wish to begin grievance Proceedings, the
following procedure is outlined:

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A. Informal Approach. An employee who differs with the decision or action of
his immediate Supervisor shall make every reasonable attempt over a period of
three working days to resolve the difference in a friendly and non-
confrontational manner,

B. Grievance Procedure. If it is clear that the informal discussion has not

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resolved the matter to the Satisfaction of all concerned, then the more formal
grievance procedure shall begin and be documented in writing step by step, by
both the employee and the Manager.

C Formal Documentation. Once the grievance has become formal, it shall

include no less than the names of the affected parties, the date of initial
complaint, the nature of the complaint, the date and times of meetings
established to resolve the complaint and the employees impression of how the
conilict directly affects his or her job performance. An employee grievance
written report shall be submitted within ten (10) working days of the alleged
act Or grievance. This formal written grievance shall be submitted to the
Manager for a written reply.

. After receiving the grievance, the Manager has three working days to furnish

the employee with a written response. The Manager may seek the advice of
legal counsel for input in formulating the written response. If the written
response to the employee by the Manager is insufficient to resolve the
grievance, then the employee has the right to request, within three (3} working
days, in writing an appeal to the North Central Solid Waste Authority Board
of Directors, sitting as the NCSWA Grievance Board,

. The Grievance Board must respond within ten (10) working days, in writing,

by setting a date and time for the formal appeal, in person, to the Gnevance
Board sitting in quorum session. At that time, the employee has the right to
bring with him another party of his own choosing to assist with the
presentation, as well as call witnesses to testify in his behalf and cross-
examine witnesses called by the Manager or Authority.

The Grievance Board in quorum session shall, within five (5) working days
after hearing the facts, make a decision concerning the grievance and issue an
opinion in writing.

. The written decision of the Grievance Board involving any grievable issues,

up to and including termination of employment, shall be final. At this point,
either party is at liberty to take the issue into the normal civil court
procedures.

Grievance Reeulations:
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A,

Compensation Grievances. The Pay range established for a given class of
work and broadly applicable to more than one employee shall not be reason
for filing a grievance.

. Policy Grievance. Policy made by the Board of Directors is not grievable.

. All employees are eligible to file a grievance except:

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74 Private Rights Protected:

No activity during off duty hours shall be cause for discipline unless such activity
precludes efficient delivery of solid waste Service to the highest responsibility shall be to
the taxpayer citizens, or causes 4 violation of this personnel policy section 7.3.

7.5 Forms of Disciplinary Action:

Forms of discip] inary action which may be initiated are, in order of increasing severity:
A. Oral warning:
B. Written warning; |

C. Suspension from duty without pay, provided that any suspensions without pay
for longer than three (3) working days must be in accordance with the
disciplinary procedures set forth in Section 7.2, above.

D. Demotion for the failure to meet prescribed work standards (where feasibie):

E. Dismissal.

These various types of disciplinary action do not indicate that discipline need be either

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progressive or cumulative in implementation.

Minor infractions will normally result in oral warnings. Continued or repetitive
infractions may invoke progressively severe disciplinary action. Depending on Severity,
some incidents in and of themselves will be sufficient cause for suspension and/or
dismissal. A written record of all disciplinary action except oral warnings shall be
inserted into the employee’s personnel file. Although discipline can be progressive,
circumstances may dictate that progressive discipline need not be followed. In the latter
instance, employee may be discharged after completion of the Pre-termination Hearing
upon the written determination of the Manager.

7.6 Relief from Duty:

The Manager may relieve an employee from duty and order the employee to Jeave the
work area, but may not initiate suspension, demotion or dismissal prior to following the
discipline and pre-termination procedures,

7.7 Notification of Disciplinary Action:
A record of any written disciplinary action taken shall be made by the Manager stating
the cause for discipline and citing the specific elements upon which it is based. Notice of

suspension without pay shall also State duration of the suspension. A copy of the action
shall be given to the employee.

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Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 21 of 41

A copy of the written notice shall be placed in the employee’s personnel file.

2.8 Right of Appeal:

Disciplinary actions, taken against regular, classified employees shall be subject to the
Snevance procedures set forth in Section § herein, beginning with 5.5 C1.

CHAPTER VII - TERMINATIONS

8.1 Types of Terminations

8.2. Return of Authority Property

8.3 Termination Pay

8.4 Resignation

8.5 Job Abandonment (Unauthorized Absence)

8.6 Layoff or Abolishment of Position

8.7 Disability and Layoffs

8.8 Medical Termination

8.9 Death

8.10 Dismissal During Probation

8.11 Dismissal of Regular Employees for Cause
12 Employees Involved in Job Misconduct or Criminal Activities

8.13 Exit Interview

&.1 Types of Termination:

Employment with the Authority may be terminated voluntarily or involuntarily.

A. Voluntary Termination - when the employee decides to leave the employment
of the North Centra! Solid Waste Authority,

B. Involuntary Termination - js originated by the Manager and may be initiated
for a variety of reasons. Those reasons include but are not limited to: Layoff,
abolishment of position, disability termination, medical termination and
disciplinary reasons,

8.2 Return of Authority Property:

Within five (5) days of termination for any reason and prior to final payment of wages,
the employee (or his/her survivor) shall return all records, uniforms, (where applicable),
keys, I.D. badges, emblems, patches or other such items of Authority property in the

S custody. In the event such Authority property is not returned, the Authority
may take such civil or criminal action as it deems appropriate.

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weeks prior to the effective date or shall be granted equivalent severance pay in lieu of
notice,

Employees laid off will be offered reemployment in reverse order of layoff, using the
criteria listed above, when effective dates of layoff do not indicate an order of
reemployment.

8.7 Disability and Layoffs
—aecviity and Lavofts

Employees who have suffered disability and cannot perform their duties shall be assigned
to light duty positions that they are able to perform and if such work is available. Their
former rate of pay shall be maintained. Ifno light work is available that the employee is
able to perform, the employee shall be placed on layoff status until able to return to work.
If, based on medical evidence, it appears that the employee shall not regain the Capability
to function in his former position; the Manager may determine that the employee be
terminated. Any employee agerieved by such a determination shali be entitled to file a
grievance and utilize the grievance procedures set forth in Section 5, herein.

&.§ Medical Termination:

a2 Xsedical kermination:

May be done when a qualified physician certifies that an employee is medically unfit to
perform the duties of his/her present position. Termination shall be appropriately noted
“For Medical Reasons.”

§.9 Death:

Termination by death of an employee shall be effective as of the date of death. All
Compensation and payable benefits due shall be paid to the estate of the deceased, except

for those sums which by law may be paid to a designated survivor,

§.10 Dismissal During Probation:

 

 

During the probation period an employee can be terminated with or without cause, and is
not entitled to the grievance Process. For example, an employee whose performance does
not meet required standards may be dismissed. The method of dismissal shall be
determined by the Manager. The reason for dismissal shall be furnished to the employee
and a copy shall be filed in the employee’s personnel file. Termination shall be effective
when the dismissal notice 1S signed by the Manager. Unused vacation leave will not be
paid to probationary employees who are terminated

8.1 Dismissal of Reoular Employees for Cause:
A regular Non-Probationary employee may be dismissed at any time for just Cause,
including but limited to any of the causes listed in Chapter VIL. The employee action wil]
be initiated by a “Notice of Personnel Hearing” prior to actual termination, A copy of
this notice shall also be filed in the Personnel File. The Pre-termination Personnel

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Hearing Notice shall include:

A. Written notice of the Teason (s} for proposed discharge:

B. Explanation of the facts in support of the proposed discharge:

Cc. An opportunity to present his/her side of the Story if the employee wishes
dD. Date and Time the Pre-termination Hearing will be held.

The Pre-termination Hearing Notice will be presented to the employee by the Manager.

S13

 

At the time of Pre-termination Hearing, the employee may present any evidence which
may tend to explain justify, or mitigate the proposed termination.

8.31.2

Within three (3) days after the Pre-termination Hearing, the Manager will provide the
employee with a written determination of his/her recommendation.

If the Manager recommends termination, the employee shall be entitled to request a
hearing before the Grievance Board, as set forth in Section 5, herein.

8.11.3

An employee who is dismissed for cause wil] not be considered for re-employment by the
NCSWA.

 

Employees charged with job misconduct or criminal activities may be place on
administrative leave with pay pending final determination, or may be assigned other
duties pending a final Outcome of the matter. Each situation under investigation will be
administered on a case by case basis. The Manager has the authority to seek legal advice
if needed and then shall review each case and decide how to proceed in the best interest
of the Authority,

8.1 Exit Interview:

 

Pnor to the last day of work, each employee who resigns shall schedule an Exit Interview
with the Manager or Designee. This interview will be to discuss insurance, retirement,
PERA refund, uniform returns and other pertinent matters

43
10.9  Workine Holiday Schedule
~~ —_EOFKng Holiday Schedule

Each year the Board of Directors will adopt a Working Holiday Schedule Resolution to
be utilized by the Authority for approved working holidays.

£6.10 Probationary Em lovees
ae Kae abonary Employees

New hire probationary employees accrue annual leave (vacation) during the probational
period but may not use such leave until they achieve regular status, Probationary
employees due to disciplinary action or promotion are eligible to use their leave. Temp or

emergency hire employees do not accrue any type of leave and are not eligible for
holiday pay.

16.13 Holiday During Leave

When a designated holiday falls within an employee’s vacation leave, that day shall be
paid asa holiday and shall not be deducted from accmed vacation leave.

£0.12 Payment of Unused Vacation Leave

Regular employees who terminate Shall be paid for unused vacation leave at their regular
rate. Probationary employees who are terminated without achieving regular status shail
be paid for unused vacation leave,

 

 

10.13 Sick Leave

(immediate family shall include: Spouse, Child, Parent, Brother, Sister, or Grandparent)
or for required medical or dental or eye treatment or examination. Sick leave may not be
authorized for reasons unrelated to illness or injury nor for slight indisposition which
does not incapacitate the employee for performance of duties. Probationary employees
may use accrued sick leave. Sick leave shall be charged as used.

10.14 Sick Leave transfer to Vacation Leave
——— Seve transter to Vacation Leave

Employees who have accrued over two-hundred forty (240) hours sick leave may convert
up to forty (40) hours sick leave each y€ar, to forty (40) hours vacation time each year on
a One-to-one basis.

10.15 Notification of Supervisor
SSS hon of Supervisor

An employee who js unable to come to work because of one of the reasons specified in
this Chapter shall promptly notify his/her immediate supervisor so that duties may be

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as

ThE Terminated Emplovees:
ws aStinated Employees:

When an employee has been discharged from employment with the Authority, the
paycheck will be Prepared through the last day of employment and presented by the
Manager or Designee at the end of the next regular payroll period. An additional check
must be paid by the next regular payroll period following termination to include any
accrued vacation, compensatory time, and qualifying sick leave.

Paychecks for terminating employees who involuntarily terminate employment with the
Authority will be retained in the Authority Office for pickup or distribution by mail,
Forwarding addresses Should be provided to the Authority Office upon departure from
Authority employment. ,

EL2 Return of Authorit Property:
BAe RR LOFHY E’voperty:

It is the responsibility of the Department Head to ensure a terminating employee has
returned al] Authority-owned Property. The Department Head must certify in writing that
all Authority Property has been returned before the final pay check is released to the
terminating employee.

11.30 Work Period Defined - Hours Worked Each Pay Period:

A. Reguiar Employees work a 40 hour/7day work period.
2080 hours worked each year

Yearly salary/2080 = Hourly rate.

2080/26 pay periods = 80 hours a pay period.

 

A. The hourly overtime rate is Computed at 1.5 times the hourly rate of pay.

B. AI employees except those designated exempt shall receive overtime pay
for hours worked in excess of'the scheduled 40 hour work week.

C. Sick leave, vacation leave, holiday, leave without pay or other non worked
hours shall be included in the work period for purposes of computing
overtime pay.

D. Requirement of frequent and considerable overtime in a department shall be
considered evidence of under staffing or poor Management of resources and

shall be subject to investigation by the Board of Directors.

E. Overtime is for the benefit of the Authority. Any and all overtime must be

55
Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 26 of 41
07/18/2011 16:56 FAX 15057478464 NCSWA Booz

NORTH CENTRAL SOLID WASTE AUTHORITY
Serving Rio Arriba County, Espafola, Santa Clara Pueblo & Ohkay Owingeh
HHO Industrial Park Road - Suite C

Email: neswa@ivalomet.com

   

 

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KX Certified Mail, Return Receipt FCF Ape COO AGH?

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ira

Regular First Class Mail

Personal Delivery

July 19, 2011
Michelc I.. Martinez
724 Mepill Street
Espanola, NM 87532
Re: Termination
Dear Ms. Martinez:
Based on a review of your work history and job performance as a NCSWA employee, your employment has been terminated
as of July 19, 2011. Please tum over any, equipment, materials, Giles, or property of NCSWA.

Your cooperation in this regard, wi}] be appreciated.

Sinc

   

 

 

Gino Romero
Manager

cc: NCSWA Board of Directors
cc. Attorney Michael Schwarzt

 

 

P.O. Box 1230. Uspaiiola. NM $7532 (S05) 747-8459 Vax (S05) 866-283-0754
Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 27 of 41

   

 

Check Method of Delivery:
Certified Mail, Return Receipt
Regtilar First Class Mail

Personal Delivery

June 29, 2011

 

 
 
 
 
 

ne Feceipt 0. of thi is letter, 1am placing you on administrative leave with pay from your position with
ew work history at NCSWA. As soon as possible you must turn in your keys and ail other
Ins iO NCSWA.

 

 

am requiring that vou make yourself available to answer any questions ] may have in this work related

“ou on or before July 6, 2011 to apprise you of your status. If 1 do not complete my review of your

continue your administrative leave with pay until the review is completed and [ make a decision
ent with NCSWA.

BS yee om, EET
PMA OO

 

 

 

 

 
Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 28 of 41

MICHAEL SCHWARZ

ATTORNEY & COUNSELLOR AT LAW
New Mexico Boarb CERTIFIED SPECIALIST
EmpcoymMent & Lasor Law

VIA FAX AND FIRST CLASS POST

19 July 2011 File 11-07

Geno Romero

Manager

North Central Solid Waste Authority
1101 Industrial Park Rd

Espanola, NM 87532-2628

Michele Martinez

 

Dear Mr Romero

Pursuant to Section 4.13 of North Central Solid Waste Authority's Personnel Policies

and Procedures, effective 12 November 2004 and as amended on 9 June 2008, | am
requesting a complete copy of Michele Martinez’ permanent personnel file. Please let
me know when this may be picked up.

Also, on 20 June 2011, Ms Martinez wrote to Ms Baxter regarding the transfer of sick
leave hours in accordance with Section 10.14 of the aforementioned personnel policies.
What is the status of this request?

Thank you for your attention in these matters.

Yours sincerely

 
  
  

MICHAEL gCHWe
Attorney g Counsellé&y at La

cc:
P.S. Mr Van Amberg has notified me that he has a potential conflict of interest and

therefore not to send him any more of my communications with you. Please notify me
of your attorney and his or her contact information. Thank you.
4

P.O. Box 1656 Santa Fe, NM 87504-1656 505.988.2053 Fax 505.983.8656 barrister@pobox.com

   
Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 29 of 41

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BARRISTER@POROX.COM

FAX COVER SHEET

Name: Geno Romero

Organization: North Central Solid Waste Disposal
Fax: 505.747.8464

Phone: 505.747.8459

Oste: 19 July 2011

Subject: Michele Martinez

Total Pages: 2

Comments:

- Letter (ipp)

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FAX COVER SHEET

Name: Geno Romero

Organization: North Central Solid Waste Disposal
Fax: 905.747.8464

Phone: 505.747.8459

Date: 19 July 2011

Subject: Michele Martinez

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MICHAEL SCHWARZ

ATTORNEY & COUNSELLOR AT LAW
New Mexico BOARD CERTIFIED SPECIALIST
EMPLOYMENT & LaBor LAW

VIA FAX AND FIRST CLASS POST

27 July 2011 File 11-07

Manager

NCSWA

P O Box 1230

Espanola, NM 87532-1230

Michele Martinez

Dear Manager

In accordance with NCSWA Personnel Policy and Procedures manual effective
November 12, 2004 as amended by June 9, 2008, Ms Martinez hereby appeals her
termination dated 19 July 2011. See Sections 5.5(c) and 7.8.

Since no particulars have been provided which serve as the basis for the termination,
Ms Martinez is unable to respond.

Yours sincerely

 

 

P.O. Box 1656 Santa Fe, NM 87504-1656 505.988.2053 Fax 505.983.8656 barrister@pobox.com
Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 32 of 41

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Michael Schwarz, Esq
5059838656

Jul 27 2011 9:45AM

 

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RARRISTER@POBOX.COM
FAX COVER SHEET

Name: Manager (Geno Romero)

Organization: North Central Solid Waste Disposal

Fax: 505.747.8464

Phone: 505.747.8459

Date: 27 July 2011

Subject: Michele Martinez

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> Letter (1pp)

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BARRISTER@POBOX.COM

FAX COVER SHEET

Name: Manager (Geno Romero)
Organization: North Central Solid Waste Disposal
Fax: 505.747.8464

Phone: 505.747.8459

Date: 27 July 2011

Subject: Michele Martinez

Total Pages: 2

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MICHAEL SCHWARZ

ATTORNEY & COUNSELLOR AT LAW
New Mexico Boarb CertirFigp SPECIALIST
EMPLOYMENT & Lasor Law

VIA FAX AND FIRST CLASS POST

42 July 2011 File 11-07
Geno Romero and Sally Baxter

North Central Solid Waste Authority

1101 Industrial Park Rd

Espanola, NM 87532-2628

Dear Mr Romero and Ms Baxter
Public Records Request

Pursuant to NMSA 1978, § 14-2-1, et seq., |am requesting to inspect and copy the
following documents:

1. All statements released to the press regarding Ms Michele Martinez

2. The joint powers agreement pertaining to the North Central Solid Waste
Authority (NCSWA)

3. All memoranda of understanding involving the City of Espanola, County of Rio

Arriba, and the Indian pueblos regarding NCSWA
If you have any questions on what is being sought, please feel free to contact me.

| do not believe that there are any confidential sources, methods, or information in this

matter. Moreover, | do not believe there are any exceptions which bar the production of
these records.

While this request is pending, please take all necessary steps to preserve all the above
materials and evidence collected in this matter.

NMSA 1978, § 14-2-8 ef seg. requires that inspection be allowed not later than fifteen
(15) days from the date of the request, and if the inspection is not allowed within three
(3) days, the statute requires a written response as to when these documents will be
made available.

A copy of this letter is being supplied to your lawyer, Ronald J Van Amberg.

 

6

P.O. Box 1656 Santa Fe, NM 87504-1656 505.988.2053 Fax 505.983.8656 barrister@pobox.com.
Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 35 of 41

MICHAEL SCHWARZ

ATTORNEY (9 COUNSELLOR AT LAw

NCSWA
12 July 2011
Page 2

Yours sincerely

      
   

MICHAEL CHW

Attorney gf Counsell at Law

cc: Amberg

ee nor

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Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 36 of 41

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Organization: NCSWA

Fax: 505.747.8464

Date: 12 July 2011

Subject: Public Records Request

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Name: Geno Romero and Sally Baxter
Organization: NCSWA

Fax: 505.747.8464

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MICHAEL SCHWARZ

ATTORNEY & COUNSELLOR AT LAW
New Mexico Boarb CERTIFIED SPECIALIST
EMPLOYMENT & Lasor LAW

VIA FAX AND FIRST CLASS POST

25 July 2011 File 11-07

Geno Romero and Sally Baxter
North Central Solid Waste Authority
P O Box 1230

Espanola, NM 87532-1230

Dear Mr Romero and Ms Baxter
Public Records Request

Pursuant to NMSA 1978, § 14-2-1, ef seq., | am requesting to inspect and copy the
following documents:

1. All letters, memoranda, guidelines, and any other document provided to the Rio
Grande Sun or any other new reporter or new agency regarding Ms Michele
Martinez

2. The personnel or any other file maintained on Ms Michele Martinez to include but

not limited to: her applications, all documents showing increase in pay, all
documents showing positions she held with NCSWA, her payroll records for her
entire period of employment. This request does not include matters of opinion
such as disciplinary matters, if any.

If you have any questions on what is being sought, please feel free to contact me.

| do not believe that there are any confidential sources, methods, or information in this

matter. Moreover, | do not believe there are any exceptions which bar the production of
these records.

While this request is pending, please take all necessary steps to preserve all the above
materials and evidence collected in this matter.

NMSA 1978, § 14-2-8 et seq. requires that inspection be allowed not later than fifteen
(15) days from the date of the request, and if the inspection is not allowed within three

 

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Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 39 of 41

MICHAEL SCHWARZ

ATTORNEY © COUNSELLOR AT LAW

Geno Romero and Sally Baxter
25 July 2011
Page 2

(3) days, the statute requires a written response as to when these documents will be
made available. Failure to comply with this request may constitute a violation of the
Inspection of Public Records Act, NMSA 1978, § 14-2-1, et seq.

Yours sincerely

  
 

MICHAEL gCHW)QZ
Attorney % Counsell at Law

cc:

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Case 1:11-cv-00785-ACT-WDS Document 65 Filed 02/13/12 Page 40 of 41

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Name: Geno Romero and Sally Baxter
Organization: North Central Solid Waste Disposal
Fax: 505.747.8464

Phone: 505.747.8459

Date: 25 July 2011

Subject: Public Records Request

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